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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

DEBRA MAYS JACKSON                                                                       PLAINTIFF

v.                                                CIVIL ACTION NO. 3:23-cv-3095-KHJ-MTP

TOM DUFF, ET AL.                                                                   DEFENDANTS

                                              ORDER

       THIS MATTER is before the Court on the Motion to Stay [61] filed by Defendant

Mississippi Board of Trustees of State Institutions of Higher Learning (“IHL”). On January 6,

2025, the Court entered an Order [58] on Defendants’ motions to dismiss. The Court dismissed

many of Plaintiff’s claims but allowed a Section 1983 Equal Protection sex discrimination claim

against certain individual Defendants and a Title VII sex discrimination claim against IHL to

proceed.

       On January 15, 2025, the remaining individual Defendants appealed the Court’s Order

[58] denying in part their entitlement to qualified immunity as to Plaintiff’s claims.

       Then, on January 28, 2025, IHL filed the instant Motion to Stay [61]. IHL argues that

because the individual Defendants’ appeal stays any further proceedings as to them, the entire

case should be stayed until the appeal is resolved to promote judicial efficiency and fairness.

       The Motion is apparently unopposed,1 and the Court finds good cause to grant the

Motion. Accordingly, the proceedings will remain stayed pending the appeal pursuant to L.U.

Civ. R. 16(b)(3)((B).2



1
  Plaintiff did not respond to the Motion [61] or file a notice that she did not intend to respond as
required by L.U. Civ. R. 7(b)(3)(A).
2
 On July 22, 2024, the Court stayed all discovery and disclosure requirements pending a ruling
on the motions to dismiss. See Order [40].
                                                  1
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  IT IS, THEREFORE, ORDERED that:

  1. The Motion to Stay [61] is GRANTED;

  2. All discovery and disclosure requirements are stayed pursuant to the Local Rules
     pending the appeal of the Court’s Order [58]; and

  3. Plaintiff shall promptly notify the Court of a ruling on the appeal of the Court’s Order
     [58] and shall submit a proposed order lifting the stay.

  SO ORDERED this the 14th day of February, 2025.

                                        s/Michael T. Parker
                                        UNITED STATES MAGISTRATE JUDGE




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